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                                IN THE UNITED STATES DISTRICT COURT

                                     FOR THE DISTRICT OF DELAWARE


FEENIX PAYMENT SYSTEMS, LLC                                       )
and FEENIX VENTURE PARTNERS, LLC,                                 )
                                                                  )
                    Plaintiffs,                                   )
                                                                  )
           v.                                                     ) Civ. No. 20-1519-MAK
                                                                  )
STEEL CAPITAL MANAGEMENT, LLC,                                    )
STEEL PAYMENTS, LLC, MICHAEL                                      )
HOFFMAN, and MARC SEHGAL,                                         )
                                                                  )
                    Defendants.                                   )


                                                        ORDER

           Pending before the Court are cross-motions to compel, referred to me as a Special Master

by Order entered by Judge Kearney on August 3, 2021. (D.I. 132) Because the motions and the

responses thereto were not particularly helpful guides to extracting these parties from their

discovery morass, 1 I conferred with counsel via Zoom on August 16, 2021. Based upon our

conversation, the parties followed up with more concise descriptions of what they were seeking

and the alleged deficiencies of production. The following analysis addresses these more salient

issues.

                                    Plaintiffs’ Motion to Compel (D.I. 119)

           Plaintiffs Feenix Payment Systems, LLC and Feenix Venture Partners, LLC (collectively

“Plaintiffs” or “Feenix”) are seeking documents concerning “the creation, formation,

development, and operation of Steel Capital.” (Plaintiffs letter brief of August 18, 2021 at 1)


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    The parties’ motions did little more than applaud their own discovery efforts and criticize those of their opponents.

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According to Defendants Steel Capital Management, LLC, Steel Payments, LLC (collectively

“Steel Capital”), Michael Hoffman, and Marc Sehgal (“collectively “Defendants”), “the only

disputed category of documents are those related to the creation of the Steel Capital entities, or

what has been characterized as Steel Capital’s “’origin story.’” (Defendants’ letter brief of

August 19, 2021 at 1) I take this to mean that Defendants have already produced all documents

pertaining to the formation, development and operation of Steel Capital, while still disputing (as

they have since the outset) the relevance of the creation or “origin” of these business entities.

           After the August 16, 2021 conference, I ordered Plaintiffs to provide their reasoning for

requesting this category of documents. In response, Plaintiffs argue, inter alia, that documents

relating to the creation of Steel Capital is relevant to their claim for breach of Section 15.5(c) of

the Operating Agreement, which states that a Restricted Party 2 may not “directly or indirectly . . .

employ or engage or recruit or solicit for employment or engagement any Person … who was

employed or engaged by any of the Companies within six months of such contact” for the

duration of the Agreement and for eighteen months following the date that a Restricted Party is

no longer a Holder, Member, or Manager. (D.I. 79, n.4) Judge Kearney, in denying Defendants’

motion for judgment on the pleadings, characterized this language as “broadly prohibit[ing] a

Restricted Party from soliciting any other Restricted Party – or any other individual who worked

for Feenix in some capacity but is not a Restricted Party – and applies to Mr. Sehgal’s

solicitation of Mr. Hoffman.” (Id.) Judge Kearney also acknowledged that allowing Messrs.

Sehgal and Hoffman to compete against Feenix reasonably went hand-in-hand with those

provisions found in the Operating Agreement that prohibit the disclosure of confidential

information, including trade secrets. (Id. at n.2)



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    No one disputes that Defendants Hoffman and Sehgal each qualify as a “Restricted Party.”

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       Defendants in their response to Plaintiffs’ letter brief seem to argue that, because Judge

Kearney “merely ‘conclude[d that] Feenix plausibly allege[d] a breach of Section 15.5(c),’” his

reasoning is of no import to this discovery dispute. (Defendants’ letter brief dated August 19,

2021 at 1) I disagree. The metes and bounds of “relevancy” are determined by the pleadings,

not by the merits of the issues as maintained by the parties. As recognized by Defendants, the

claimed breach of Section 15.5(c) of the Operating Agreement “turns on whether Section 15.5(c)

applied to Hoffman and Sehgal as Members and, even if so, whether Feenix can prove any

damages. . . . “ (Id. at 2) With Judge Kearney having found that the pleadings plausibly allege

that Section 15.5(c) does apply to the individual Defendants, and absent an interim ruling on the

merits, the relevancy of Plaintiffs’ document requests has been satisfied. The remainder of

Plaintiffs’ arguments as to relevancy are not inconsistent with this analytical framework.

       In sum, with both allegations of improper solicitation and use of confidential information

in play, IT IS ORDERED that:

       1. Plaintiffs’ motion to compel (D.I. 119) is granted.

       2. On or before September 2, 2021, Defendants shall produce those non-privileged

       documents relating to the ”creation” of Steel Capital, including internal communications.

                           Defendants’ Motion to Compel (D.I. 120)

       Defendants argues in their motion to compel that Plaintiffs have failed to make a

substantial or fulsome production, or even to make their discovery protocol available to

Defendants for their review. After the August 16, 2021 conference, I ordered Plaintiffs to

describe the search protocol it has followed to date. Plaintiffs did so, but also conceded that they

are still (weeks after the initial July 7 substantial completion deadline) “reviewing and producing

documents” and have not even employed certain search terms proposed by Defendants in June



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because “these search terms hit on over two thirds (311,605 out of 457,758) of the collected

documents.” (Plaintiffs’ August 17, 2021 letter brief, at 1)

       With the discovery deadline fast approaching, I agree with Defendants that Plaintiffs

have unduly delayed their production, using their disputes (never presented coherently) over a

search protocol as a delay tactic rather than using the search protocol as a tool for expediting

discovery. I further agree with Defendants that Plaintiffs have a primary obligation “to conduct a

reasonably diligent search and to produce relevant, responsive documents in a timely manner …,

irrespective of ongoing debates regarding search terms.” (Defendants’ August 18, 2021 letter

submission at 2)

       Given that Plaintiffs have agreed to produce documents in response to all of Defendants’

document requests but admittedly have failed to do so, IT IS ORDRED that:

       1. Defendants’ motion to compel (D.I. 120) is granted.

       2. With respect to Plaintiffs’ obligation to conduct a reasonably diligent search, on

       before September 2, 2021, Plaintiffs shall produce documents responsive to Defendants’

       document requests, including but not limited to those documents omitted from its

       production to date: (i) documents reflecting each instance Plaintiffs shared their

       purported trade secret information with third parties (RFP 4); (ii) confidentiality

       agreements between Plaintiffs and any third party that received Plaintiffs’ purported trade

       secret information (RFP 50-51); (iii) documents and communications reflecting all

       investments or potential investments lost due to competition by Defendants (RFP 44-45);

       (iv) documents regarding the separation of Members (RFP 56-59); (v) documents relating

       to the Operating Agreement (RFP 28); and (vi) communications between Defendants and

       any third party regarding Defendants’ post-separation from Plaintiffs (RFP 35). This



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       production shall be accompanied by a description of what efforts Plaintiffs undertook to

       identify the foregoing.

       3. With respect to Plaintiffs’ ongoing disputes over search terms:

               a. On or before August 26, 2021, Plaintiffs shall provide hit reports reflecting (i)

       the results of Defendants’ proposed search protocol attached to Defendants’ August 18,

       2021 letter brief as Exhibit B, and (ii) any good-faith revisions to such protocol proposed

       by Plaintiffs.

               b. Should Plaintiffs contend that Defendants’ proposed search terms be narrowed,

       Plaintiffs shall arrange a meet and confer with Defendants (with me in attendance,

       meaning it must be transcribed) by August 27, 2021. If Plaintiffs argue undue burden in

       this regard, Plaintiffs must identify a statistically sound sample of 10% of documents

       resulting from any opposed search terms or source so the parties and I can determine

       how, if at all, to refine the protocol.

               c. Within five days of an agreed-upon protocol (or a protocol ordered by me),

       Plaintiffs shall certify that it has substantially completed its production.

       Consistent with Judge Kearney’s August 3, 2021 order, the parties may file short

objections to these recommendations within 24 hours of filing.



                                                 Respectfully submitted:

                                                 /s/ Sue L. Robinson

                                                 Sue L. Robinson, serving as Special Master




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